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 3   Sacramento, CA 95814
     (916) 447-1965; Fax: (916) 447-1940
 4   Long_5999@msn.com
 5   Attorney for Defendant
     TPRING SUMMERFIELD
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      Cr. S- 06-428 DFL
11 UNITED STATES OF AMERICA,
                                                      STIPULATION TO EXTEND FILING DATE
12                         Plaintiff,                 FOR PROPERTY BOND
13          vs.

14 TPRING SUMMERFIELD, et al.
15                         Defendants.

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17
18   TO: McGREGOR W. SCOTT, U. S. Attorney, and ANNE PINGS, Asst. U. S. Attorney:
19           Counsel for defendant TPRING SUMMERFIELD needs additional time to file the Deed of Trust
20
     in Pinal County, Arizona, and have the government and the court approve the property bond documents.
21
     The PIRT and the appraisal of the subject property have been completed. All that remains to be done
22
23   is recording the Deed of Trust in Arizona and securing the approval of the documents by the government

24   and the court.
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         Case 2:06-cr-00428-KJM Document 43 Filed 11/14/06 Page 2 of 3


 1   STIPULATION
 2            The United States and defendant TPRING SUMMERFIELD, through her undersigned counsel,
 3   hereby stipulate and agree that the deadline for filing the property bond documents with the court may
 4   be extended from November 9, 2006, to November 24, 2006.
 5   IT IS SO STIPULATED.
 6   Dated:         November 9, 2006              McGREGOR SCOTT
 7                                                United States Attorney
 8                                                /s/ Jason Hitt, AUSA
 9                                                Signed by Michael D. Long with Mr. Hitt’s
10                                                Approval
11
12   Dated:         November 9, 2006
13                                                /s/ Michael D. Long
                                                  MICHAEL D. LONG
14                                                Attorney for Defendant
15                                                TPRING SUMMERFIELD

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 6   Attorney for Defendant
     TPRING SUMMERFIELD
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 8
                                         IN THE UNITED STATES DISTRICT COURT
 9                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11                                                       Cr. S- 06-428 DFL
     UNITED STATES OF AMERICA,
12
                                   Plaintiff,
13                                                       ORDER TO EXTEND FILING
              vs.
14                                                       DEADLINE FOR PROPERTY BOND
     TPRING SUMMERFIELD
15                                                       DOCUMENTS
                                   Defendants.
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18
              GOOD CAUSE APPEARING, it is hereby ORDERED that deadline for defendant TPRING
19
     SUMMERFIELD to file the property bond documents is extended from November 9, 2006, to November
20
     24, 2006.
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22 IT IS SO ORDERED
23 DATED: November 13, 2006.
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     Ddad1/orders.criminal/summerfield0428.stipord
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